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           EXHIBIT A
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 5   Aaron S. Ament, D.C. Bar #1602164 (pro hac vice forthcoming)
     Daniel A. Zibel, D.C. Bar #491377 (pro hac vice forthcoming)
 6   Maya H. Weinstein*, N.C. Bar #56621 (pro hac vice forthcoming)
     NATIONAL STUDENT LEGAL DEFENSE NETWORK
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     Brian Galle, N.Y. Bar #419154 (pro hac vice forthcoming)
11   Georgetown University Law Center
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12   (202) 662-4039
     brian.galle@georgetown.edu
13
14   Attorneys for Proposed Intervenor-Defendant Student Defense
     * Admitted to practice law only in North Carolina; Supervised by organizational
15   principals while D.C. Bar application is pending.
16
                        IN THE UNITED STATES DISTRICT COURT
17                          FOR THE DISTRICT OF ARIZONA
18
     Grand Canyon University,                       No.: 2:21-cv-00177
19
                  Plaintiff,
20
     v.
21
     Miguel Cardona, in his Official Capacity as
22   Secretary of the United States Department
23   of Education, and the United States
     Department of Education.
24
                  Defendants,
25
                  and
26
27   National Student Legal Defense Network,

28                Applicant to Intervene.
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 1
 2                         INTERVENOR-DEFENDANT’S ANSWER
            Defendant-Intervenor National Student Legal Defense Network, by and through
 3
     undersigned counsel, hereby states as follows as an Answer to the Complaint of Plaintiff
 4
 5   Grand Canyon University in the above-captioned action.
            1.     Intervenor-Defendant admits that GCU is a private Christian university in
 6
     Phoenix, Arizona, and that from its inception in 1949 until 2004, GCU operated as an
 7
 8   Arizona nonprofit institution. Except as so stated, Intervenor-Defendant lacks

 9   information sufficient to admit or deny, and therefore denies, the allegations in this

     Paragraph.
10
11          2.     Intervenor-Defendant lacks information sufficient to admit or deny, and

     therefore denies, the allegations in this Paragraph.
12
            3.     Intervenor-Defendant admits that “new GCU” was recently formed. Except
13
14   as so stated, Intervenor-Defendant lacks information sufficient to admit or deny, and

15   therefore denies, the allegations in this Paragraph.
            4.     Intervenor-Defendant admits that the IRS and GCU’s accreditor approved
16
17   GCU’s nonprofit status. Except as so stated, Intervenor-Defendant lacks information

18   sufficient to admit or deny, and therefore denies, the allegations in this Paragraph.
            5.     Intervenor-Defendant admits that the Department has denied GCU’s
19

20   application to be considered a nonprofit institution of higher education, as that term is

21   used with reference to Title IV of the Higher Education Act (“HEA) and its regulations.
     Except as so stated, Intervenor-Defendant denies the allegations in this Paragraph.
22
            6.     Deny.
23
24

25


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 1          7.     Aspects of this Paragraph constitute legal conclusions to which no response

 2   is required. To the extent a response is required, Intervenor-Defendant denies the

 3   allegations in this Paragraph.

 4                                      INTRODUCTION1

 5          8.     The first sentence of this Paragraph contains Plaintiffs’ own

 6   characterization of their motives for this lawsuit, as to which Intervenor-Defendant lacks

 7   knowledge. Intervenor-Defendant admits that at the time of the Department’s denial, the

 8   IRS had approved GCU as a tax-exempt nonprofit pursuant to 26 U.S.C. § 501(c)(3).

 9   Except as so stated, Intervenor-Defendant denies the allegations in this Paragraph.

10          9.     The first sentence contains a characterization of the Department’s written

11   statement, as to which the best evidence of the Department’s basis is the written

12   statement itself. Because the remainder of the paragraph is premised on vague allegations

13   of what is “materially similar,” Intervenor-Defendant lacks information sufficient to

14   admit or deny, and therefore denies, the allegations.

15          10.    Admit.

16          11.    Intervenor-Defendant admits the first two sentences of the Paragraph. With

17   respect to the third sentence, Intervenor-Defendant admits that the Department stated in

18   its November 6, 2019, letter that it “does not take a position with respect to Gazelle’s

19   non-profit 501(c)(3) status with the Internal Revenue Service. However, GCU must cease

20   any advertising or notices that refer to its ‘nonprofit status.’…The Department does not

21   take a position regarding statements that GCU may make about its IRS status as a

22   501(c)(3) tax exempt organization.” Intervenor-Defendant further admits that the

23
            1
24                  Student Defense has included the headings listed in the Complaint only to
     assist in reading the pleadings. Student Defense does not admit, and in fact denies, the
     accuracy of those headings to the extent that they can be construed as asserting allegations
25   of fact.


                                                  3
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 1   Department reinforced the position stated in the previous sentence in its January 12, 2021

 2   letter. The final two sentences of this Paragraph constitute legal conclusions to which no

 3   response is required.

 4          12.     This allegation, including its subparts, contains legal conclusions to which

 5   no response is required. To the extent a response is required, Intervenor-Defendant denies

 6   the allegations.

 7          13.     This allegation makes and characterizes a legal conclusion, so no response

 8   is required. To the extent a response is required, Intervenor-Defendant denies the

 9   allegations.

10          14.     Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in this Paragraph.

12          15.     Intervenor-Defendant admits that Paragraph 15 describes Plaintiff’s claims

13   and denies that Plaintiff is entitled to any relief on its claims.

14                                             PARTIES

15          16.     Intervenor-Defendant admits that GCU is incorporated as a nonprofit

16   corporation in the State of Arizona, with its principal place of business at 3300 West

17   Camelback Road – Phoenix, AZ 85017. Intervenor-Defendant further admits that GCU

18   has been recognized by the Internal Revenue Service as a tax-exempt organization under

19   section 501(c)(3) of the Internal Revenue Code. Except as so stated, the allegations are

20   denied.

21          17.     Intervenor-Defendant admits that Miguel Cardona is the Secretary of the

22   Department and has been sued in his official capacity. Intervenor-Defendant further

23   admits that the official address of the Department and Secretary Cardona is 400 Maryland

24   Avenue SW, Washington, DC 20202. Except as so stated, the allegations are denied.

25          18.     Admit.



                                                     4
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 1                                JURISDICTION AND VENUE

 2          19.     This paragraph sets forth Plaintiff’s jurisdictional allegations that present

 3   legal conclusions and questions of law to be determined solely by the Court, to which no

 4   answer is required.

 5          20.     This paragraph sets forth Plaintiff’s jurisdictional allegations that present

 6   legal conclusions and questions of law to be determined solely by the Court, to which no

 7   answer is required.

 8          21.     This paragraph sets forth Plaintiff’s venue allegations that present legal

 9   conclusions and questions of law to be determined solely by the Court, to which no

10   answer is required. To the extent a response is required, Intervenor-Defendant admits that

11   the proper venue is determined under 28 U.S.C. § 1391.

12                                 FACTUAL ALLEGATIONS

13          A. Background

14          22.    Intervenor-Defendant admits that GCU is a private Christian university

15   located in Phoenix, Arizona. Except as so stated, Intervenor-Defendant lacks information

16   sufficient to admit or deny, and therefore denies, the allegations in this Paragraph.

17          23.     Intervenor-Defendant admits that GCU was founded in 1949. Except as so

18   stated, Intervenor-Defendant lacks information sufficient to admit or deny, and therefore

19   denies, the allegations in this Paragraph.

20          24.     Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          25.     Intervenor-Defendant denies that GCU “be[came] a publicly traded

23   institution in 2008.” Intervenor-Defendant admits that GCE became a publicly- traded

24   entity in 2008. Except as so stated, Intervenor-Defendant lacks information sufficient to

25   admit or deny, and therefore denies, the allegations in this Paragraph.



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 1          26.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          27.     Intervenor-Defendant admits that GCE was a publicly traded company.

 4   Except as so stated, Intervenor-Defendant lacks information sufficient to admit or deny,

 5   and therefore denies, the allegations in this Paragraph.

 6          28.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 7   therefore denies, the allegations in this Paragraph.

 8          29.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 9   therefore denies, the allegations in this Paragraph.

10          30.     Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in this Paragraph.

12          31.     Intervenor-Defendant admits that Plaintiff entered into a partnership with

13   the City of Phoenix Police Department. Except as so stated, Intervenor-Defendant lacks

14   information sufficient to admit or deny, and therefore denies, the remaining allegations in

15   this Paragraph.

16          32.     Intervenor-Defendant admits that Plaintiff partnered with Habitat for

17   Humanity. Except as so stated, Intervenor-Defendant lacks information sufficient to

18   admit or deny, and therefore denies, the remaining allegations in this Paragraph.

19          33.     Intervenor-Defendant admits that Plaintiff established centers called

20   Learning Lounges® in the community that offer free in-person and online tutoring and

21   mentoring to English and Spanish speaking K–12 students in the Phoenix area. Except as

22   so stated, Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the remaining allegations in this Paragraph.

24          34.     Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1          35.     Intervenor-Defendant admits that Plaintiff opened a regional point-of-

 2   dispensing site for the Pfizer coronavirus vaccine. Except as so stated, Intervenor-

 3   Defendant lacks information sufficient to admit or deny, and therefore denies, the

 4   remaining allegations in this Paragraph.

 5          B. GCU Converts Back to Nonprofit Status

 6          36.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 7   therefore denies, the allegations in this Paragraph.

 8          37.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 9   therefore denies, the allegations in this Paragraph.

10          38.     Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in the first two sentences of this Paragraph. Intervenor-

12   Defendant denies the remaining allegations in this Paragraph.

13                 The Transaction

14          39.     Intervenor-Defendant admits that GCU publicly announced its intent to

15   convert to nonprofit status in 2014 and admits that GCU stated at that time that the

16   remainder of the allegations in this Paragraph would be true. Except as so stated,

17   Intervenor-Defendant lacks sufficient information to admit or deny, and therefore denies,

18   the allegations in this Paragraph.

19          40.     Intervenor-Defendant lacks information sufficient to admit or deny, and

20   therefore denies, the allegations in this Paragraph.

21          41.     Intervenor-Defendant lacks information sufficient to admit or deny, and

22   therefore denies, the allegations in this paragraph, including its subparts.

23          42.    Intervenor-Defendant lacks information sufficient to admit or deny, and

24   therefore denies, the allegations in this Paragraph.

25


                                                   7
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 1          43.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          44.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          45.    Intervenor-Defendant admits that each of the named entities reviewed the

 6   transaction and recognized GCU as a nonprofit organization under their own respective

 7   standards. Except as so stated, the allegations in this Paragraph are denied.

 8                 GCU Follows IRS, HLC and Department Requirements in Obtaining

 9                 Nonprofit Status

10
11          46.    Intervenor-Defendant lacks information sufficient to admit or deny, and

12   therefore denies, the allegations in this paragraph.

13          47.    Intervenor-Defendant lacks information sufficient to admit or deny, and

14   therefore denies, the allegations in this Paragraph.

15          48.    Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph and its subparts.

17          49.    Intervenor-Defendant admits that GCU’s IRS determination letter was

18   dated November 9, 2015, and that the IRS approved its 501(c)(3) nonprofit status at that

19   time. Except as so stated, Intervenor-Defendant lacks information sufficient to admit or

20   deny, and therefore denies, the allegations in this Paragraph.

21          50.    Intervenor-Defendant admits that the transaction closed on July 1, 2018.

22   Except as so stated, Intervenor-Defendant lacks information sufficient to admit or deny,

23   and therefore denies, the allegations in this Paragraph.

24          51.    Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1          52.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          53.    Intervenor-Defendant admits that HLC initially denied GCU’s request for

 4   approval. Except as so stated, Intervenor-Defendant lacks information sufficient to admit

 5   or deny, and therefore denies, the allegations in this Paragraph.

 6          54.    Intervenor-Defendant admits that in 2017, HLC changed its guidelines

 7   regarding service agreements. Except as so stated, Intervenor-Defendant lacks

 8   information sufficient to admit or deny, and therefore denies, the allegations in this

 9   Paragraph.

10          55.    Intervenor-Defendant admits that Plaintiff submitted an updated application

11   to HLC in August 2017. Intervenor-Defendant lacks information sufficient to admit or

12   deny, and therefore denies, the remaining allegations in this Paragraph.

13          56.    Intervenor-Defendant lacks information sufficient to admit or deny, and

14   therefore denies, the allegations in this Paragraph.

15          57.    Intervenor-Defendant admits that HLC is a recognized accreditor. Except as

16   so stated, Intervenor-Defendant denies the allegations in this Paragraph.

17          58.    Admit.

18          59.    Admit.

19          60.    Admit.

20          61.    Admit.

21          62.    Intervenor-Defendant admits that GCU provided a copy of a proposed

22   MSA, a draft asset purchase agreement, a draft credit agreement, and a proposed

23   corporate structure to the Department. Except as so stated, Intervenor-Defendant denies

24   the allegations in this Paragraph.

25


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 1          63.     Insofar as this Paragraph including its subparts describes the content of the

 2   pre-acquisition review request, Intervenor-Defendant admits that the best evidence of the

 3   content of that request is the request itself.

 4          64.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 5   therefore denies, the allegations in this Paragraph.

 6          65.     Intervenor-Defendant lacks information sufficient to admit or deny, and

 7   therefore denies, the allegations in this Paragraph.

 8          66.     Intervenor-Defendant admits to the first sentence of this Paragraph. Except

 9   as so stated, Intervenor-Defendant lacks information sufficient to admit or deny, and

10   therefore denies, the allegations in the final sentence of this Paragraph.

11          67.     Intervenor-Defendant admits that HLC typically requires transactions to

12   close within 30 days of approval. Except as so stated, Intervenor-Defendant lacks

13   information sufficient to admit or deny, and therefore denies, the remaining allegations in

14   this Paragraph.

15          68.     Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph.

17          69.     Intervenor-Defendant lacks information sufficient to admit or deny, and

18   therefore denies, the allegations in this Paragraph.

19          70.     Intervenor-Defendant lacks information sufficient to admit or deny, and

20   therefore denies, the allegations in this Paragraph.

21          71.     This Paragraph states a legal conclusion as to which no response is

22   required. To the extent a response is required, Intervenor-Defendant admits.

23          72.     This Paragraph states a legal conclusion as to which no response is

24   required. To the extent a response is required, Intervenor-Defendant admits.

25          73.     Deny.



                                                      10
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 1          74.    Admit.

 2          75.    Intervenor-Defendant admits that Plaintiff filed additional supporting

 3   documentation with the Department on August 31, 2018. Intervenor-Defendant lacks

 4   information sufficient to admit or deny, and therefore denies, the remaining allegations in

 5   this Paragraph.

 6          76.    This Paragraph states a legal conclusion to which no response is required.

 7   To the extent a response is required, Intervenor-Defendant denies the allegations.

 8          77.    Deny.

 9                     a. Deny.

10                     b. Admit.

11                     c. Admit.

12          78.    Intervenor-Defendant admits the allegations in the first sentence of the

13   paragraph. Intervenor-Defendant further admits that Plaintiff sent a letter to the

14   Department on October 1, 2018. Except as so stated, Intervenor-Defendant denies

15   allegations in the Paragraph.

16          79.    Intervenor-Defendant admits that Paragraph 79, including its subparts,

17   describes generally the content of Plaintiff’s letter to the Department, but avers that the

18   best evidence of the contents of the letter is the letter itself. To the extent the allegations

19   state a legal conclusion regarding the Department’s applications of its standards,

20   Intervenor-Defendant denies the remaining allegations in this Paragraph.

21          80.    Intervenor-Defendant admits that Paragraph 80, including its subparts,

22   describes generally the content of Plaintiff’s letter to the Department, but avers that the

23   best evidence of the contents of the letter is the letter itself. To the extent the allegations

24   state a legal conclusion regarding the Department’s applications of its standards,

25   Intervenor-Defendant denies the remaining allegations in this Paragraph.



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 1          81.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in the first two sentences of this Paragraph. Intervenor-

 3   Defendant admits that Plaintiff remains an independent, private university, accorded

 4   nonprofit status by the State of Arizona and tax-exempt status under Section 501(c)(3) of

 5   the Internal Revenue Code by the IRS.

 6                 The Department’s November 6, 2019 Decision Letter Is Arbitrary and

 7                 Without Justification

 8          82.    Deny.

 9          83.    Intervenor-Defendant lacks information sufficient to admit or deny, and

10   therefore denies, the allegations in this Paragraph.

11          84.    Intervenor-Defendant denies the allegation to the extent it characterizes the

12   contents of an email, the best evidence of which is the email itself. Except as so stated,

13   Intervenor-Defendant lacks information sufficient to admit or deny, and therefore denies,

14   the allegations in this Paragraph.

15          85.    Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph.

17          86.    Admit.

18          87.    Deny.

19          88.    Deny.

20          89.    Intervenor-Defendant admits that the IRS made a determination regarding

21   GCU’s status under section 501 of the Internal Revenue Code. Except as so stated,

22   Intervenor-Defendant denies the allegations in this Paragraph.

23          90.    Intervenor-Defendant admits that the IRS made a determination regarding

24   GCU’s status under section 501 of the Internal Revenue Code. Except as so stated,

25   Intervenor-Defendant denies the allegations in this Paragraph.



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 1          91.    Insofar as this Paragraph describes the content of the November 2019

 2   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

 3   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

 4   Paragraph.

 5          92.    Insofar as this Paragraph describes the content of the November 2019

 6   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

 7   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

 8   Paragraph, including its subparts.

 9          93.    Insofar as this Paragraph describes the content of the November 2019

10   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

11   is the letter itself. With respect to subparagraph (d), Intervenor-Defendant also admits

12   that the Department approved GCU’s Title IV participation as a for-profit, or proprietary

13   institution. Except as so stated, Intervenor-Defendant denies the allegations in this

14   Paragraph, including its subparts.

15          94.    Insofar as this Paragraph describes the content of the November 2019

16   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

17   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

18   Paragraph.

19          95.    This allegation contains legal conclusions to which no response is required.

20   To the extent a response is required, and insofar as the allegation includes only a

21   summary of 34 C.F.R. § 668.25, Intervenor-Defendant denies the allegation in this

22   Paragraph.

23          96.    Insofar as this Paragraph describes the content of the November 2019

24   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

25


                                                   13
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 1   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

 2   Paragraph.

 3          97.    Deny.

 4                 GCU Proposes to Amend the MSA as an Alternative Solution to

 5                 Litigating the November 6, 2019 Decision

 6          98.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 7   therefore denies, the allegations in this Paragraph.

 8          99.    Intervenor-Defendant lacks information sufficient to admit or deny, and

 9   therefore denies, the allegations in this Paragraph.

10          100.   Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in this Paragraph.

12          101.   Intervenor-Defendant lacks information sufficient to admit or deny, and

13   therefore denies, the allegations in this Paragraph.

14          102.   Intervenor-Defendant lacks information sufficient to admit or deny, and

15   therefore denies, the allegations in this Paragraph.

16          103.   Intervenor-Defendant lacks information sufficient to admit or deny, and

17   therefore denies, the allegations in this Paragraph.

18          104.   Intervenor-Defendant admits that the fee structure under the original MSA

19   was capped at 60% payment required. Except as so stated, Intervenor-Defendant lacks

20   information sufficient to admit or deny, and therefore denies, the allegations in this

21   Paragraph.

22          105.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

24          106.   Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1          107.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          108.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          109.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          110.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 8   therefore denies, the allegations in this Paragraph.

 9          111.   Intervenor-Defendant lacks information sufficient to admit or deny, and

10   therefore denies, the allegations in this Paragraph.

11          112.   Intervenor-Defendant lacks information sufficient to admit or deny, and

12   therefore denies, the allegations in this Paragraph.

13          113.   Intervenor-Defendant lacks information sufficient to admit or deny, and

14   therefore denies, the allegations in this Paragraph.

15          114.   Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph.

17          115.   Intervenor-Defendant lacks information sufficient to admit or deny, and

18   therefore denies, the allegations in this Paragraph.

19          116.   Deny.

20          117.   Deny.

21          118.   Intervenor-Defendant lacks information sufficient to admit or deny, and

22   therefore denies, the allegations in this Paragraph.

23          119.   Intervenor-Defendant lacks information sufficient to admit or deny, and

24   therefore denies, the allegations in this Paragraph, including its subparts.

25


                                                  15
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 1          120.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          121.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          122.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          123.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 8   therefore denies, the allegations in this Paragraph.

 9          124.   Intervenor-Defendant lacks information sufficient to admit or deny, and

10   therefore denies, the allegations in this Paragraph.

11          125.   Intervenor-Defendant lacks information sufficient to admit or deny, and

12   therefore denies, the allegations in this Paragraph.

13          126.   Intervenor-Defendant lacks information sufficient to admit or deny, and

14   therefore denies, the allegations in this Paragraph.

15                 The Department Again Refuses to Recognize GCU’s Nonprofit Status

16          127.   Admit.

17          128.   Admit.

18          129.   Insofar as this Paragraph describes the content of the January 12, 2021

19   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

20   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

21   Paragraph.

22          130.   Insofar as this Paragraph describes the content of the January 12, 2021

23   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

24   is the letter itself. Except as so stated, Intervenor-Defendant denies the allegations in this

25   Paragraph.



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 1          131.   Insofar as this Paragraph describes the content of the January 12, 2021

 2   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

 3   is the letter itself. Except as so stated, Intervenor-Defendant denies, the allegations in this

 4   Paragraph.

 5          132.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          133.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 8   therefore denies, the allegations in this Paragraph.

 9          134.   Insofar as this Paragraph describes the content of the January 12, 2021

10   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

11   is the letter itself. Except as so stated, Intervenor-Defendant lacks information sufficient

12   to admit or deny, and therefore denies, the allegations in this Paragraph.

13          135.   This Paragraph contains legal conclusions to which no response is required.

14   Insofar as a response is required, Intervenor-Defendant denies the allegations in this

15   Paragraph.

16          136.   Deny.

17          137.   Insofar as this Paragraph describes the content of the January 12, 2021

18   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

19   is the letter itself. Except as so stated, Intervenor-Defendant lacks information sufficient

20   to admit or deny, and therefore denies, the allegations in this Paragraph.

21          138.   Intervenor-Defendant lacks information sufficient to admit or deny, and

22   therefore denies, the allegations in this Paragraph.

23          139.   This allegation contains legal conclusions to which no response is required.

24   Insofar as a response is required, Intervenor-Defendant denies the allegations in this

25   Paragraph.



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 1          140.   This allegation contains legal conclusions to which no response is required.

 2   Insofar as a response is required, Intervenor-Defendant denies the allegations in this

 3   Paragraph, including its subparts.

 4          141.   This allegation contains legal conclusions to which no response is required.

 5   Insofar as a response is required, Intervenor-Defendant denies the allegations in this

 6   Paragraph.

 7          142.   This allegation contains legal conclusions to which no response is required.

 8   Insofar as a response is required, Intervenor-Defendant denies the allegations in this

 9   Paragraph.

10          143.   Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in this Paragraph.

12          144.   Deny.

13          145.   Insofar as this Paragraph describes the content of the January 12, 2021

14   decision, Intervenor-Defendant admits that the best evidence of the content of that letter

15   is the letter itself. Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph.

17          146.   Intervenor-Defendant lacks information sufficient to admit or deny, and

18   therefore denies, the allegations in this Paragraph.

19          147.   Insofar as this Paragraph describes the content of a written communication,

20   Intervenor-Defendant admits that the best evidence of the content of that communication

21   is the communication itself.

22          148.   The first two sentences of this Paragraph constitute legal conclusions to

23   which no answer is required. With respect to the remainder of the allegations, Intervenor-

24   Defendant admits that the best evidence of the content of that decision is the decision

25   itself. Except as so stated, Intervenor-Defendant denies the allegations in this Paragraph.



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 1          C. The Department Lacks Authority Under Its Regulations to Determine

 2             Nonprofit Status

 3                 The Department’s Regulations About Nonprofit Conversions

 4          149.   This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 6   in this Paragraph.

 7          150.   This allegation constitutes a legal conclusion to which no response is

 8   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 9   in this Paragraph.

10          151.   This allegation constitutes a legal conclusion to which no response is

11   required. To the extent a response is required, Intervenor-Defendant denies the allegation

12   in this Paragraph.

13          152.   This allegation constitutes a legal conclusion to which no response is

14   required. To the extent a response is required, Intervenor-Defendant denies the allegation

15   in this Paragraph.

16          153.   This allegation constitutes a legal conclusion to which no response is

17   required. To the extent a response is required, Intervenor-Defendant denies the allegation

18   in this Paragraph.

19          154.   This allegation constitutes a legal conclusion to which no response is

20   required. To the extent a response is required, Intervenor-Defendant admits the allegation

21   in this Paragraph.

22          155.   This allegation constitutes a legal conclusion to which no response is

23   required. To the extent a response is required, Intervenor-Defendant admits the allegation

24   in this Paragraph.

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 1          156.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant admits the allegation

 3   in this Paragraph.

 4          157.   This allegation constitutes a legal conclusion to which no response is

 5   required.

 6          158.   This allegation constitutes a legal conclusion to which no response is

 7   required.

 8                 The Department’s Past Statements About Nonprofit Status

 9          159.   This allegation constitutes a legal conclusion to which no response is

10   required. To the extent a response is required, Intervenor-Defendant denies the allegation

11   in this Paragraph.

12          160.   Deny.

13          161.   Admit.

14          162.   This allegation constitutes a legal conclusion to which no response is

15   required. To the extent a response is required, Intervenor-Defendant denies the allegation

16   in this Paragraph.

17          163.   This allegation constitutes a legal conclusion to which no response is

18   required. To the extent a response is required, Intervenor-Defendant denies the allegation

19   in this Paragraph.

20          164.   Insofar as this Paragraph describes the content of Congressional testimony,

21   Intervenor-Defendant admits that the best evidence of the content of that testimony is the

22   record of such testimony. Except as so stated, Intervenor-Defendant denies the

23   allegations in this Paragraph.

24          165.   Intervenor-Defendant denies the allegation to the extent it characterizes the

25   contents of what was “[i]mplicit” in a federal agency’s statement to the United States



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 1   Congress, the best evidence of which is the statement itself. Except as so stated,

 2   Intervenor-Defendant lacks information sufficient to admit or deny, and therefore denies,

 3   the allegation in this Paragraph.

 4          166.   This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 6   in this Paragraph.

 7          167.   Intervenor-Defendant denies the first sentence of the Paragraph and admits

 8   that in 2010, the Department added a new paragraph to 34 C.F.R. § 600.2 defining

 9   foreign nonprofit institutions. Except as so stated, Intervenor-Defendant denies the

10   allegation in this Paragraph.

11          168.   Intervenor-Defendant admits that the quotation appears in the cited

12   reference. Except as so stated, this allegation constitutes a legal conclusion to which no

13   response is required. To the extent a response is required, Intervenor-Defendant denies

14   the allegation in this Paragraph.

15          169.   Admit.

16          170.   This allegation constitutes a legal conclusion to which no response is

17   required. To the extent a response is required, Intervenor-Defendant denies the allegation

18   in this Paragraph.

19          171.   Intervenor-Defendant lacks information sufficient to admit or deny, and

20   therefore denies, the allegations in this Paragraph.

21          172.   This allegation constitutes a legal conclusion to which no response is

22   required. To the extent a response is required, Intervenor-Defendant denies the allegation

23   in this Paragraph.

24          173.   Admit.

25          174.   Admit.



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 1          175.   Intervenor-Defendant denies that the allegations in Paragraph 175 reflect

 2   the context and full scope of the language in the proposed rules.

 3          176.   Intervenor-Defendant admits that Paragraph 176 describes the

 4   Department’s support of the proposed rule, but denies the allegations to the extent that

 5   Plaintiff does not contextualize the quotation and misconstrues its true meaning.

 6          177.   This allegation constitutes a legal conclusion to which no response is

 7   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 8   in this Paragraph.

 9          178.   This allegation constitutes a legal conclusion to which no response is

10   required. To the extent a response is required, Intervenor-Defendant denies the allegation

11   in this Paragraph.

12                 The Department’s Past Practice With Nonprofit Conversion

13          179.   Deny.

14          180.   Insofar as this Paragraph describes the content of Congressional testimony,

15   Intervenor-Defendant admits that the best evidence of the content of that testimony is the

16   record of such testimony. Except as so stated, Intervenor-Defendant denies the

17   allegations in this Paragraph.

18          181.   Admit.

19          182.   Deny.

20          183.   Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          184.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

24          185.   Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1                 The Department’s Departure From Its Longstanding Practice

 2          186.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 3   therefore denies, the allegations in this Paragraph.

 4          187.   Admit.

 5          188.   Insofar as this Paragraph describes the content of the Department’s August

 6   2016 decision, Intervenor-Defendant admits that the best evidence of the content of that

 7   decision is the decision itself. Except as so stated, Intervenor-Defendant denies the

 8   allegations in this Paragraph.

 9          189.   Insofar as this Paragraph describes the content of the Department’s August

10   2016 decision, Intervenor-Defendant admits that the best evidence of the content of that

11   decision is the decision itself. Except as so stated, Intervenor-Defendant admits the

12   allegations in this Paragraph.

13          190.   Insofar as this Paragraph describes the content of the Department’s August

14   2016 decision, Intervenor-Defendant admits that the best evidence of the content of that

15   decision is the decision itself. Except as so stated, Intervenor-Defendant denies the

16   allegations in this Paragraph.

17          191.   Insofar as this Paragraph describes the content of the Department’s August

18   2016 decision, Intervenor-Defendant admits that the best evidence of the content of that

19   decision is the decision itself. Except as so stated, Intervenor-Defendant denies the

20   allegations in this Paragraph.

21          192.   Insofar as this Paragraph describes the content of the Department’s prior

22   communication, Intervenor-Defendant admits that the best evidence of the content of that

23   communication is a copy of the communication itself. Except as so stated, Intervenor-

24   Defendant lacks information sufficient to admit or deny, and therefore denies, the

25   allegations in this Paragraph.



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 1          193.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          194.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          195.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          196.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 8   therefore denies, the allegations in this Paragraph and its subparts.

 9          197.   Intervenor-Defendant admits that through a notice published in the Federal

10   Register in July 2019, the Department repealed the gainful employment rules. Except as

11   so stated, Intervenor-Defendant denies the remaining allegations in this Paragraph.

12                 The Department’s Inconsistent Treatment of Similarly Situated

13                 Institutions

14          198.   This allegation constitutes a legal conclusion to which no response is

15   required. To the extent a response is required, Intervenor-Defendant denies the allegation

16   in this Paragraph.

17          199.   Deny.

18          200.   Intervenor-Defendant admits that the Department denied GCU’s nonprofit

19   status and admits that it approved a transaction between Purdue University and Kaplan

20   University. Except as so stated, Intervenor-Defendant denies the allegations in this

21   Paragraph.

22          201.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

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 1          202.    Insofar as this Paragraph describes the content of the Department’s

 2   decision, Intervenor-Defendant admits that the best evidence of the content of the

 3   decision is the decision itself.

 4          203.    Defendant-Intervenor admits that Purdue created a 501(c)(3) nonprofit,

 5   Purdue University Global, to purchase the credential-issuing side of Kaplan’s higher

 6   education business. Except as so stated, Intervenor-Defendant denies the allegations in

 7   this Paragraph.

 8          204.    Admit.

 9          205.    Admit.

10          206.    Insofar as this Paragraph describes the content of the Department’s

11   decision, Intervenor-Defendant admits that the best evidence of the content of the

12   decision is the decision itself. Except as so stated, Intervenor-Defendant denies the

13   allegations in this Paragraph.

14          207.    Insofar as this Paragraph describes the content of the Department’s

15   decision, Intervenor-Defendant admits that the best evidence of the content of the

16   decision is the decision itself. Except as so stated, Intervenor-Defendant admits the

17   allegations in this Paragraph.

18          208.    Admit.

19          209.    Insofar as this Paragraph describes the content of the Department’s

20   decision, Intervenor-Defendant admits that the best evidence of the content of the

21   decision is the decision itself. Except as so stated, Intervenor-Defendant admits the

22   allegations in this Paragraph.

23          210.    Insofar as this Paragraph characterizes the contents of the MSA, Intervenor-

24   Defendant admits that the best evidence of the contents of the MSA is the MSA itself.

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 1          211.   Insofar as this Paragraph characterizes the contents of the MSA, Intervenor-

 2   Defendant admits that the best evidence of the contents of the MSA is the MSA itself.

 3   Except as so stated, Intervenor-Defendant lacks information sufficient to admit or deny,

 4   and therefore denies, the allegations in this Paragraph.

 5          212.   Insofar as this Paragraph characterizes the contents of the Department’s

 6   decision, Intervenor-Defendant admits that the best evidence of the contents of the

 7   decision is the decision itself. Except as so stated, Intervenor-Defendant lacks

 8   information sufficient to admit or deny, and therefore denies, the allegations in this

 9   Paragraph.

10          213.   Insofar as this Paragraph characterizes the contents of the Department’s

11   decision, Intervenor-Defendant admits that the best evidence of the contents of the

12   decision is the decision itself. Except as so stated, Intervenor-Defendant lacks

13   information sufficient to admit or deny, and therefore denies, the allegations in this

14   Paragraph.

15          214.   Intervenor-Defendant lacks information sufficient to admit or deny, and

16   therefore denies, the allegations in this Paragraph.

17          215.   Intervenor-Defendant lacks information sufficient to admit or deny, and

18   therefore denies, the allegations in this Paragraph.

19          216.   Intervenor-Defendant lacks information sufficient to admit or deny, and

20   therefore denies, the allegations in this Paragraph.

21          217.   Intervenor-Defendant lacks information sufficient to admit or deny, and

22   therefore denies, the allegations in this Paragraph.

23          218.   Intervenor-Defendant lacks information sufficient to admit or deny, and

24   therefore denies, the allegations in this Paragraph.

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 1          219.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 3   in this Paragraph.

 4                 The Department’s End-Run Around Negotiated Rulemaking

 5          220.   This allegation constitutes a legal conclusion to which no response is

 6   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 7   in this Paragraph.

 8          221.   This allegation constitutes a legal conclusion to which no response is

 9   required. To the extent a response is required, Intervenor-Defendant denies the allegation

10   in this Paragraph.

11          222.   This allegation constitutes a legal conclusion to which no response is

12   required. To the extent a response is required, Intervenor-Defendant denies the allegation

13   in this Paragraph.

14          D. Even Assuming the Department Has Authority to Determine Nonprofit

15             Status for Title IV Purposes, the Decision is Arbitrary and Capricious

16                 Under Its Own Reading, the Department Exceeded Its Authority

17          223.   This allegation constitutes a legal conclusion to which no response is

18   required. To the extent a response is required, Intervenor-Defendant denies the allegation

19   in this Paragraph.

20          224.   Insofar as this Paragraph characterizes the contents of the Department’s

21   decision, Intervenor-Defendant admits that the best evidence of the contents of the

22   decision is the decision itself. Except as so stated, Intervenor-Defendant denies the

23   allegations in this Paragraph.

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 1          225.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 3   in this Paragraph.

 4          226.   This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 6   in this Paragraph.

 7          227.   This allegation constitutes a legal conclusion to which no response is

 8   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 9   in this Paragraph.

10          228.   This allegation constitutes a legal conclusion to which no response is

11   required. To the extent a response is required, Intervenor-Defendant admits the allegation

12   in this Paragraph.

13          229.   This allegation constitutes a legal conclusion to which no response is

14   required. To the extent a response is required, Intervenor-Defendant denies the allegation

15   in this Paragraph.

16          230.   Deny.

17          231.   This allegation constitutes a legal conclusion to which no response is

18   required. To the extent a response is required, Intervenor-Defendant denies the allegation

19   in this Paragraph.

20          232.   This allegation constitutes a legal conclusion to which no response is

21   required. To the extent a response is required, Intervenor-Defendant denies the allegation

22   in this Paragraph.

23                 The Department Misapplied the Primary Purpose Test

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 1          233.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 3   in this Paragraph.

 4          234.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 5   therefore denies, the allegations in this Paragraph.

 6          235.   This allegation constitutes a legal conclusion to which no response is

 7   required. To the extent a response is required, Intervenor-Defendant admits that the

 8   quotation from United States v. Dykema is accurately transcribed, but does not describe

 9   the Department’s obligations under the law.

10          236.   Intervenor-Defendant lacks information sufficient to admit or deny, and

11   therefore denies, the allegations in this Paragraph.

12          237.   Intervenor-Defendant lacks information sufficient to admit or deny, and

13   therefore denies, the allegations in this Paragraph.

14          238.   Intervenor-Defendant lacks information sufficient to admit or deny, and

15   therefore denies, the allegations in this Paragraph.

16          239.   Intervenor-Defendant lacks information sufficient to admit or deny, and

17   therefore denies, the allegations in this Paragraph.

18          240.   Intervenor-Defendant lacks information sufficient to admit or deny, and

19   therefore denies, the allegations in this Paragraph.

20          241.   Intervenor-Defendant denies the allegations as to the January 12, 2021

21   Decision. Intervenor-Defendant lacks information sufficient to admit or deny, and

22   therefore denies, the allegations pertaining to the August 20, 2020 letter.

23          242.   This allegation constitutes a legal conclusion to which no response is

24   required. To the extent a response is required, Intervenor-Defendant denies the allegation

25   in this Paragraph.



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 1          243.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          244.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          245.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          246.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 8   therefore denies, the allegations in this Paragraph.

 9          247.   Insofar as this Paragraph characterizes the evidence, Intervenor-Defendant

10   admits that the best evidence is the evidence itself. The remaining allegations constitute

11   legal conclusions to which no response is required.

12          248.   Admit.

13          249.   Deny.

14          250.   Intervenor-Defendant lacks information sufficient to admit or deny, and

15   therefore denies, the allegations in this Paragraph.

16          251.   Intervenor-Defendant lacks information sufficient to admit or deny whether

17   Barclays advised GCE on the Transaction, and the ramifications of that advice.

18   Intervenor-Defendant denies that the assessment of how GCU benefits under the MSA is

19   an essential consideration under the IRS’s primary purpose test.

20          252.   Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          253.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

24          254.   Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1          255.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in the first sentence of this Paragraph. Intervenor-

 3   Defendant denies the allegation in the second sentence in this Paragraph.

 4          256.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 5   therefore denies, the allegations in this Paragraph.

 6          257.   Deny.

 7          258.   This allegation constitutes a legal conclusion to which no response is

 8   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 9   in this Paragraph.

10          259.   Deny.

11          260.   This allegation constitutes a legal conclusion to which no response is

12   required. To the extent a response is required, Intervenor-Defendant denies the allegation

13   in this Paragraph.

14          261.   This allegation constitutes a legal conclusion to which no response is

15   required. To the extent a response is required, Intervenor-Defendant denies the allegation

16   in this Paragraph.

17                 GCU’s Net Earnings Do Not Improperly Benefit GCE

18          262.   This allegation constitutes a legal conclusion to which no response is

19   required. To the extent a response is required, Intervenor-Defendant denies the allegation

20   in this Paragraph.

21          263.   Admit.

22          264.   This allegation constitutes a legal conclusion to which no response is

23   required. To the extent a response is required, Intervenor-Defendant denies the allegation

24   in this Paragraph.

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 1          265.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          266.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 4   therefore denies, the allegations in this Paragraph.

 5          267.   This allegation constitutes a legal conclusion to which no response is

 6   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 7   in this Paragraph.

 8          268.   This allegation constitutes a legal conclusion to which no response is

 9   required. To the extent a response is required, Intervenor-Defendant denies the allegation

10   in this Paragraph.

11          269.   This allegation constitutes a legal conclusion to which no response is

12   required. To the extent a response is required, Intervenor-Defendant avers that the best

13   evidence of the contents of the Department’s decision is the decision itself. Except as so

14   stated, Intervenor-Defendant denies the allegation in this Paragraph.

15          270.   This allegation constitutes a legal conclusion to which no response is

16   required. To the extent a response is required, Intervenor-Defendant avers that the best

17   evidence of the contents of the Department’s decision is the decision itself. Except as so

18   stated, Intervenor-Defendant lacks information sufficient to admit or deny, and therefore

19   denies, the allegation in this Paragraph.

20          271.   Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          272.   This allegation constitutes a legal conclusion to which no response is

23   required. To the extent a response is required, Intervenor-Defendant denies the allegation

24   in this Paragraph.

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 1          273.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 3   in this Paragraph.

 4                 Brian Mueller’s Dual Role Is Irrelevant to GCU’s Nonprofit Status

 5          274.   Admit.

 6          275.   This allegation constitutes a legal conclusion to which no response is

 7   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 8   in this Paragraph.

 9          276.   This allegation constitutes a legal conclusion to which no response is

10   required. To the extent a response is required, Intervenor-Defendant denies the allegation

11   in this Paragraph.

12          277.   This allegation constitutes a legal conclusion to which no response is

13   required. To the extent a response is required, Intervenor-Defendant denies the allegation

14   in this Paragraph.

15          278.   This allegation constitutes a legal conclusion to which no response is

16   required. To the extent a response is required, Intervenor-Defendant denies the allegation

17   in this Paragraph.

18          279.   This allegation constitutes a legal conclusion to which no response is

19   required. To the extent a response is required, Intervenor-Defendant denies the allegation

20   in this Paragraph.

21          280.   Admit.

22          281.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

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 1          282.   This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 3   in this Paragraph.

 4          283.   This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 6   in this Paragraph.

 7          284.   Intervenor-Defendant admits that the best evidence of the GCU IRS Form

 8   1023 is the form itself. Except as so stated, Intervenor-Defendant lacks information

 9   sufficient to admit or deny, and therefore denies, the allegations in this Paragraph.

10          285.   Intervenor-Defendant admits that the best evidence of the content of the

11   MSA is the MSA. Except as so stated, Intervenor-Defendant lacks information sufficient

12   to admit or deny, and therefore denies, the allegations in this Paragraph.

13          286.   Intervenor-Defendant admits that GCU’s Bylaws adopted on December 15,

14   2017, delegate oversight of the MSA to a “Master Service Agreement Committee” which

15   precludes any participation from interested persons. Except as so stated, Intervenor-

16   Defendant lacks information sufficient to admit or deny, and therefore denies, the

17   allegations in this Paragraph.

18          287.   Intervenor-Defendant lacks information sufficient to admit or deny, and

19   therefore denies, the allegations in this Paragraph.

20          288.   Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          289.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

24          290.   Deny.

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 1          291.   Intervenor-Defendant admits that in its November 6, 2019, and January 12,

 2   2021, letters the Department stated that it “does not take a position with respect to

 3   Gazelle’s non-profit 501(c)(3) status with the Internal Revenue Service.” Except as so

 4   stated, Intervenor-Defendant denies the allegations in this Paragraph.

 5          292.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 6   therefore denies, the allegations in this Paragraph.

 7          293.   Admit.

 8          294.   Admit.

 9          295.   Intervenor-Defendant lacks information sufficient to admit or deny, and

10   therefore denies, the allegations in this Paragraph.

11          296.   Intervenor-Defendant lacks information sufficient to admit or deny, and

12   therefore denies, the allegations in this Paragraph.

13          297.   This allegation constitutes a legal conclusion to which no response is

14   required. To the extent a response is required, Intervenor-Defendant denies the allegation

15   in this Paragraph.

16          298.   This allegation constitutes a legal conclusion to which no response is

17   required. To the extent a response is required, Intervenor-Defendant denies the allegation

18   in this Paragraph.

19          299.   Intervenor-Defendant lacks information sufficient to admit or deny, and

20   therefore denies, the allegations in this Paragraph.

21          300.   This allegation constitutes a legal conclusion to which no response is

22   required. To the extent a response is required, Intervenor-Defendant denies the allegation

23   in this Paragraph.

24          301.   Deny.

25          302.   Deny.



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 1                 The MSA Does Not Allow GCE to Operate GCU

 2          303.   The first sentence allegation constitutes a legal conclusion to which no

 3   response is required. To the extent a response is required, Intervenor-Defendant denies

 4   the allegation in this Paragraph. Intervenor-Defendant admits the second sentence of the

 5   Paragraph.

 6          304.   This allegation constitutes a legal conclusion to which no response is

 7   required. To the extent a response is required, Intervenor-Defendant admits the allegation

 8   in this Paragraph.

 9          305.   Intervenor-Defendant admits that the quoted language is included in 34

10   C.F.R. § 668.25(a). Except as so stated, Intervenor-Defendant denies the allegation in this

11   Paragraph.

12          306.   Deny.

13          307.   Deny.

14          308.   This allegation constitutes a legal conclusion to which no response is

15   required. To the extent a response is required, Intervenor-Defendant denies the allegation

16   in this Paragraph.

17          309.   Deny.

18          310.   Intervenor-Defendant lacks information sufficient to admit or deny, and

19   therefore denies, the allegations in this Paragraph.

20          311.   Intervenor-Defendant lacks information sufficient to admit or deny, and

21   therefore denies, the allegations in this Paragraph.

22          312.   Intervenor-Defendant lacks information sufficient to admit or deny, and

23   therefore denies, the allegations in this Paragraph.

24          313.   Intervenor-Defendant lacks information sufficient to admit or deny, and

25   therefore denies, the allegations in this Paragraph.



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 1          314.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 2   therefore denies, the allegations in this Paragraph.

 3          315.   This allegation constitutes a legal conclusion to which no response is

 4   required. To the extent a response is required, Intervenor-Defendant denies the

 5   allegations in this Paragraph.

 6          316.   Intervenor-Defendant lacks information sufficient to admit or deny, and

 7   therefore denies, the allegations in this Paragraph.

 8          317.   This allegation constitutes a legal conclusion to which no response is

 9   required. To the extent a response is required, Intervenor-Defendant denies the allegation

10   in this Paragraph.

11          318.   Admit.

12          319.   Intervenor-Defendant admits that in its November 6, 2019 letter the

13   Department stated that it “does not take a position with respect to Gazelle’s non-profit

14   501(c)(3) status with the Internal Revenue Service” and in its January 12, 2021 letter the

15   Department stated that “the fact that HLC may have reached a different conclusion is

16   neither binding nor persuasive.” Except as so stated, Intervenor-Defendant denies the

17   allegations in this Paragraph.

18          320.   This allegation constitutes a legal conclusion to which no response is

19   required. To the extent a response is required, Intervenor-Defendant denies the allegation

20   in this Paragraph.

21             E. The Department’s Licensing Regime Is an Unconstitutional Prior

22                 Restraint

23          321.   Intervenor-Defendant admits that Plaintiff was previously approved to

24   operate as a nonprofit business by the State of Arizona and the IRS. Except as so stated,

25   Intervenor-Defendant denies the remaining allegations in this Paragraph.



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 1          322.   Deny.

 2          323.   Deny.

 3          324.   This allegation constitutes a legal conclusion to which no response is

 4   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 5   in this Paragraph.

 6          325.   This allegation constitutes a legal conclusion to which no response is

 7   required. To the extent a response is required, Intervenor-Defendant denies the allegation

 8   in this Paragraph.

 9          326.   This allegation constitutes a legal conclusion to which no response is

10   required. To the extent a response is required, Intervenor-Defendant denies the allegation

11   in this Paragraph.

12          327.   This allegation constitutes a legal conclusion to which no response is

13   required. To the extent a response is required, Intervenor-Defendant denies the allegation

14   in this Paragraph.

15          328.   This allegation constitutes a legal conclusion to which no response is

16   required. To the extent a response is required, Intervenor-Defendant denies the allegation

17   in this Paragraph.

18                                              COUNT I

19          329.   Intervenor-Defendant correspondingly incorporates the preceding

20   paragraphs as if set forth fully herein.

21          330.   Deny.

22          331.   Deny.

23          332.   This allegation constitutes a legal conclusion to which no response is

24   required. To the extent a response is required, Intervenor-Defendant denies that the

25   Department acted arbitrarily and capriciously.



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 1          333.    This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the

 3   allegations in this paragraph.

 4          334.    This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies that Plaintiff

 6   is entitled to any relief on its claims.

 7          335.    This allegation constitutes a legal conclusion to which no response is

 8   required. To the extent a response is required, Intervenor-Defendant denies that Plaintiff

 9   is entitled to any relief on its claims.

10                                              COUNT II

11          336.    Intervenor-Defendant correspondingly incorporates the preceding

12   paragraphs as if set forth fully herein.

13          337.    This allegation constitutes a legal conclusion to which no response is

14   required. To the extent a response is required, Intervenor-Defendant admits that the APA

15   prohibits agency action that is contrary to law or arbitrary and capricious. Intervenor-

16   Defendant denies the remaining allegations in this Paragraph.

17          338.    This allegation constitutes a legal conclusion to which no response is

18   required. To the extent a response is required, Intervenor-Defendant denies that the

19   Department’s Decisions were contrary to law.

20          339.    This allegation constitutes a legal conclusion to which no response is

21   required. To the extent a response is required, Intervenor-Defendant denies that the

22   Department’s Decisions were arbitrary and capricious. Intervenor-Defendant further

23   denies each of the separately numbered subparts.

24          340.    This allegation constitutes a legal conclusion to which no response is

25   required. To the extent a response is required, Intervenor-Defendant denies that the



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 1   Department violated “notices of notions, due process, and equal protection.” Intervenor-

 2   Defendant further denies that the Department acted contrary to law.

 3          341.    This allegation constitutes a legal conclusion to which no response is

 4   required. To the extent a response is required, Intervenor-Defendant denies that Plaintiff

 5   is entitled to any relief on its claims.

 6                                              COUNT III

 7          342.    Intervenor-Defendant correspondingly incorporates the preceding

 8   paragraphs as if set forth fully herein.

 9          343.    This allegation constitutes a legal conclusion to which no response is

10   required. To the extent a response is required, Intervenor-Defendant admits that HEA

11   § 492 sets forth the Department’s obligations to promulgate rules through negotiated

12   rulemaking. Except as so stated, Intervenor-Defendant denies the allegations in this

13   Paragraph.

14          344.    This allegation constitutes a legal conclusion to which no response is

15   required. To the extent a response is required, Intervenor-Defendant admits that 5 U.S.C.

16   § 553 sets forth certain requirements that agencies must follow. Except as so stated,

17   Intervenor-Defendant denies the allegation in this Paragraph.

18          345.    This allegation constitutes a legal conclusion to which no response is

19   required. To the extent a response is required, Intervenor-Defendant denies the

20   allegations in this Paragraph.

21          346.    This allegation constitutes a legal conclusion to which no response is

22   required. To the extent a response is required, Intervenor-Defendant denies the

23   allegations in this Paragraph.

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 1                                              COUNT IV

 2          347.   Intervenor-Defendant correspondingly incorporates the preceding

 3   paragraphs as if set forth fully herein.

 4          348.   This allegation constitutes a legal conclusion to which no response is

 5   required. To the extent a response is required, Intervenor-Defendant denies the

 6   allegations in this Paragraph.

 7          349.   This allegation constitutes a legal conclusion to which no response is

 8   required. To the extent a response is required, Intervenor-Defendant denies the

 9   allegations in this Paragraph.

10          350.   This allegation constitutes a legal conclusion to which no response is

11   required. To the extent a response is required, Intervenor-Defendant denies the

12   allegations in this Paragraph.

13          351.   This allegation constitutes a legal conclusion to which no response is

14   required. To the extent a response is required, Intervenor-Defendant denies the

15   allegations in this Paragraph.

16          352.   This allegation constitutes a legal conclusion to which no response is

17   required. To the extent a response is required, Intervenor-Defendant denies the

18   allegations in this Paragraph.

19          353.   This allegation constitutes a legal conclusion to which no response is

20   required. To the extent a response is required, Intervenor-Defendant denies the

21   allegations in this Paragraph.

22          354.   This allegation constitutes a legal conclusion to which no response is

23   required. To the extent a response is required, Intervenor-Defendant denies the

24   allegations in this Paragraph.

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 1          355.     This allegation constitutes a legal conclusion to which no response is

 2   required. To the extent a response is required, Intervenor-Defendant denies the

 3   allegations in this Paragraph.

 4                                     PRAYER FOR RELIEF

 5   In response to the paragraph in the prayer for relief in the Plaintiff’s Complaint,

 6   Intervenor-Defendant responds as follows:

 7          1.       Defendant-Intervenor denies that Plaintiff is entitled to an order and

 8   judgment under the First Cause of Action declaring that GCU is a nonprofit institution for

 9   purpose of Title IV programs and denies that Plaintiff is entitled to be regulated as a

10   nonprofit institution of higher education.

11          2.       Defendant-Intervenor denies that Plaintiff is entitled to an order and

12   judgment under the Second Cause of Action declaring that the Department’s Decisions

13   are not in accordance with law and are arbitrary and capricious within the meaning of 5

14   U.S.C. § 706. Intervenor-Defendant denies that Plaintiff is entitled to have the

15   Department’s Decisions vacated. Intervenor-Defendant denies that Plaintiff is entitled to

16   the Department to be ordered to hold that GCU is a nonprofit educational institution for

17   all purposes.

18          3.       Defendant-Intervenor denies that Plaintiff is entitled to an order and

19   judgment vacating the Department’s Decisions under the Third Cause of Action.

20          4.       Defendant-Intervenor denies that Plaintiff is entitled under the Fourth

21   Cause of Action to an order and judgment declaring that the Department’s Decisions

22   deny GCU’s constitutionally protected right to call itself a nonprofit institution in

23   violation of the First Amendment.

24          5.       Defendant-Intervenor denies that Plaintiff is entitled to an order vacating

25   the for-profit PPA the Department required GCU to sign in order to participate in Title IV



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 1   programs and denies that Plaintiff is entitled to an order requiring the Department to issue

 2   GCU a new PPA recognizing GCU as a nonprofit institution of higher education.

 3            6.   Defendant-Intervenor denies that Plaintiff is entitled to attorneys’ fees and

 4   costs.

 5            7.   Defendant-Intervenor denies that Plaintiff is entitled to any relief.

 6            8.   Defendant-Intervenor denies any and all allegations not specifically

 7   admitted herein.

 8                                     GENERAL DENIAL

 9   Defendant-Intervenor denies any and all allegations not specifically admitted herein.

10
                                               DATED this 22nd day of April, 2021
11
                                               Respectfully submitted,
12
                                               /s/ J. Henk Taylor
13
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                                        principals while D.C. Bar application is
 8                                      pending.

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